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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                        MONITA SHARMA, et al.,
                                   7                                                        Case No. 13-cv-02274-MMC (KAW)
                                                       Plaintiffs,
                                   8
                                                v.                                          ORDER DENYING WITHOUT
                                   9                                                        PREJUDICE STIPULATED
                                        BMW OF NORTH AMERICA LLC,                           ADMINISTRATIVE MOTION TO FILE
                                  10                                                        DOCUMENTS UNDER SEAL
                                                       Defendant.
                                  11                                                        Re: Dkt. No. 112

                                  12
Northern District of California
 United States District Court




                                  13          The parties to the above-captioned case have filed a stipulated motion to file documents

                                  14   under seal. They seek to file certain portions of a joint letter under seal and two accompanying

                                  15   exhibits under seal in their entirety. The stipulated motion is DENIED WITHOUT PREJUDICE

                                  16   because it is not "narrowly tailored to seek sealing only of sealable material." See Civil L.R. 79-

                                  17   5(b). For example, exhibits C and D are deposition transcript excerpts, and the parties have not

                                  18   established why the transcript excerpts should be filed under seal in their entirety.

                                  19          IT IS SO ORDERED.

                                  20   Dated: 01/12/2016
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                                  21                                                         KANDIS A. WESTMORE
                                  22                                                         United States Magistrate Judge

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